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                               UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 ENRIQUE ESCOBAR

       Plaintiff,                                      CIVIL ACTION

 v.                                                    CASE NO.: 1:19-cv-00911

 MIDLAND CREDIT MANAGEMENT, INC.                       JURY TRIAL DEMANDED
 and MIDLAND FUNDING LLC,

       Defendants.

                                   CLASS ACTION COMPLAINT

            Plaintiff, ENRIQUE ESCOBAR, by and through his counsel, James C. Vlahakis of

SULAIMAN LAW GROUP, LTD, and complaining against the Defendants, MIDLAND

CREDIT MANAGEMENT, INC. and MIDLAND FUNDING LLC (at times “Defendants”),

presents this Civil Action pursuant to Federal Rule of Civil Procedure (“FRCP”) 23(a),

23(b)(2) and 23(b)(3):

      I.         Introduction

            1.      Plaintiff ENRIQUE ESCOBAR (“Plaintiff”) brings this civil action pursuant

to the Fair Debt Collection Practices Act, 15 U.S.C. §1692, et seq. (the “FDCPA”) to

remedy Defendants’ unlawful collection techniques relative time-barred consumer debt.

            2.      As described below, Defendant MIDLAND FUNDING LLC (“Midland”)

purchases debts, including, time-barred debts from original creditors.

            3.      Midland uses Defendant MIDLAND CREDIT MANAGEMENT, INC. (“MCM”)

to collect time-barred debts on its behalf.

            4.      Midland receives data from original creditors where the data identifies the

name of the debtor, the known address of a debtor, the date of the debtor’s last payment,

the date of default and the date of any subsequent payment or payments.



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       5.     Prior to actively collecting purchased debts, Midland and/or MCM analyze

the date of a debtor’s last payment, the date of default and the date of any subsequent

payment or payments. Midland and/or MCM utilize and analyze these dates, as well as

the debtor’s known residence to calculate the applicable the statute of limitation and

determine whether and when the applicable the statute of limitation has expired.

       6.     Despite undertaking these steps, Defendants’ standard form collection

letters do not identify the particular statute of limitation applied to the debt or date that

the applicable statute of limitations expired.

       7.     Defendants’ standard form collection letters do not identify the method or

manner in which any statute of limitation has been applied to the subject debt.

       8.     Rather, than informing consumers that Defendant cannot sue them to

collect a given debt, Defendants’ standard form collection letters generically state: “[t]he

law limits how long you can be sued on a debt” and “[b]ecause of the age of your debt,

we will not sue you for it.”

       9.     As discussed below, rather than identify the applicable statute of limitation

and the method of calculating the date, Defendants’ standard form collection letters are

purposefully drafted, formatted and worded to deceive, materially mislead and

misinform consumers about their rights relative to time-barred debt.

       10.    As detailed below, Defendants drafted, approved and/or transmitted

thousands of collection letters where the collection letters did not inform the recipients

that they could not sue the recipients to collect the subject debts.

       11.    Additionally, despite stating that the subject debt is time-barred, MCM’s

collection agents did not inform Plaintiff during certain telephone conversations that the

subject debt was time-barred under the law.




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         12.      Additionally, despite determining that Midland and/or MCM cannot sue

consumers to collect time-barred debts, in addition to Plaintiff, on information and

belief, MCM’s collection agents have failed to provide oral time-barred debt disclosures

to over forty (40) similarly situated persons.

   II.         Jurisdiction, Parties and Venue

         13.      Subject matter jurisdiction exits pursuant to 28 U.S.C. §§ 1331, 1337

because this is a civil action brought pursuant to the FDCPA.

         14.      Plaintiff is natural person residing in Texas.

         15.      As detailed below, Plaintiff received a credit solicitation letter from Avant

Credit III Trust, a Chicago, Illinois based creditor. Alternatively, Plaintiff received a

credit solicitation letter from Avant, Inc., an Illinois based creditor.

         16.      Plaintiff responded to the credit solicitation and received monies from

Avant Credit III Trust and/or Avant, Inc.

         17.      The purpose of the financial transaction was for Plaintiff’s personal use.

         18.      Plaintiff eventually defaulted on his repayment obligations to Avant Credit

III Trust and/or Avant, Inc.

         19.      Defendant Midland is incorporated in the State of Delaware and its

principal place of business is located in San Diego, California 92108.

         20.      Midland purchases time-barred debt from original creditors.

         21.      Midland “is one of the nation’s largest purchasers of unresolved consumer

debt.”    www.midlandcreditonline.com/who-is-mcm/midland-credit-management-real-

company/

         22.      According to Midland, “[m]any lenders sell the right to collect on your

account to companies like Midland Funding LLC.” www.midlandcreditonline.com/who-

is-mcm/


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       23.    Defendant MCM is incorporated in the State of Kansas and its principal

place of business is located in San Diego, California 92108.

       24.    MCM services unsecured consumer debt in the United States.

       25.    MCM collects consumer debts on behalf of Midland.

       26.    Encore Capital Group, LLC (“Encore”), is Midland’s parent company.

       27.    On behalf of Midland, MCM sent at least two, and up to a dozen collection

letters to Plaintiff in an effort to collect a debt that Plaintiff allegedly owed to Avant Credit

III Trust and/or Avant, Inc. See, Exhibit A, December 24, 2018, Collection Letter, and

Exhibit B, January 8, 2019, Collection Letter.

       28.    Section 1692a(6) of the FDCPA defines the term “debt collector” to mean

“any person who uses any instrumentality of interstate commerce or the mails in any

business the principal purpose of which is the collection of any debts, or who regularly

collects or attempts to collect, directly or indirectly, debts owed or due or asserted to be

owed or due another.”

       29.    MCM is a “debt collector” as defined by Section 1692a(6) of the FDCPA

because it regularly collects or attempts to collect, directly or indirectly, debts owed or

due or asserted to be owed or due another as the term “debt” has been defined by the

FDCPA.

       30.    MCM is also a “debt collector” as defined by Section 1692a(6) of the FDCPA

because it uses any instrumentality of interstate commerce or the mails in any business

the principal purpose of which is the collection of any debts, as the term “debt” has been

defined by the FDCPA.

       31.    Midland regularly purchases “consumer” “debt” from original creditors as

the terms “consumer” and “debt” are defined by Sections 1692a(3) and 1692a(5) of the

FDCPA.


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      32.    Midland regularly purchases “consumer” “debt” from business entities

other than original creditors as the terms “consumer” and “debt” are defined by Sections

1692a(3) and 1692a(5) of the FDCPA.

      33.    Midland regularly purchases “consumer” “debt” from business entities

that have previously purchased from original creditors as the terms “consumer” and

“debt” are defined by Sections 1692a(3) and 1692a(5) of the FDCPA.

      34.    Midland is a “debt collector” as defined by §1692a(6) because it regularly

purchases debts, as the term “debt” has been defined by the FDCPA, after the debt was

already in default, and indirectly, through MCM, uses mail and telephone calls to collect

these defaulted debts.

      35.    Midland is liable for the acts of its agent, MCM.

      36.    Section 1692a(2) of the FDCPA defines the term “communication” to mean

“the conveying of information regarding a debt directly or indirectly to any person

through any medium.”

      37.    The December 24, 2018, Collection Letter is a “communication” as the

term is defined by Section 1692a(2) of FDCPA.

      38.    The January 8, 2019, Collection Letter is a “communication” as the term

is defined by Section 1692a(2) of FDCPA.

      39.    Section 1692a(3) of the FDCPA defines the term “consumer” to mean “any

person obligated or allegedly obligated to pay any debt.”

      40.    In transmitting the December 24, 2018, Collection Letter, and the January

8, 2019, Collection Letter, Defendant MCM and Midland considered Plaintiff a person




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obligated to pay “debt”, and thus considered Plaintiff to be a consumer as defined by

Section 1692a(3) of the FDCPA.1

        41.    Midland has purchased over 40 consumer debts from Avant Credit III

Trust as the terms “consumer” and “debt” are defined by Sections 1692a(3) and 1692a(5)

of the FDCPA.

        42.    Midland has purchased over 40 consumer debts from Avant, Inc. as the

terms “consumer” and “debt” are defined by Sections 1692a(3) and 1692a(5) of the

FDCPA.

        43.    The alleged former creditor(s), Avant Credit III Trust and/or Avant, Inc.,

provide and have provided loans to consumers located within and outside of the State

of Illinois.

        44.    One of the alleged creditor(s), Avant Credit III Trust, has provided loans to

over forty (40) persons where Avant Credit III Trust’s records list the residents as having

postal addresses located within the State of Illinois.

        45.    One of the alleged creditor(s), Avant Credit III Trust, has provided loans to

over forty (40) persons where Avant Credit III Trust’s records list the residents as having

postal addresses located within the State of Texas.

        46.    One of the alleged creditor(s), Avant, Inc., has provided loans to over forty

(40) persons where Avant Credit III Trust’s records list the residents as having postal

addresses located within the State of Illinois.




1
  Section 1692a(5) of the FDCPA defines the term “debt” to mean “any obligation or alleged
obligation of a consumer to pay money arising out of a transaction in which the money, property,
insurance, or services which are the subject of the transaction are primarily for personal, family,
or household purposes, whether or not such obligation has been reduced to judgment.”

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      47.    One of the alleged creditor(s), Avant, Inc., has provided loans to over forty

(40) persons where Avant Credit III Trust’s records list the residents as having postal

addresses located within the State of Texas.

      48.    Avant Credit III Trust’s registered agent is Wilmington Trust, National

Association, listed at Rodney Square North, 1100 North Market Street, Wilmington, DE,

19890.

      49.    Avant Credit III Trust is incorporated under the laws of the State of

Delaware according to a State of Delaware’s Department of State, Division of

Corporation’s entity details website search result run on January 24, 2019, and screen

captured on January 24, 2019:




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       50.    Avant, Inc. is or was a incorporated under the laws of the State of Delaware

appears to be listed as an inactive corporation according to a State of Delaware’s

Department of State, Division of Corporation’s entity details website search result run

on January 24, 2019, and screen captured on January 24, 2019:




       51.    Avant, Inc. is or was a incorporated under the laws of the State of Delaware

and is listed as a “withdraw” corporation as reflected by the Illinois Secretary of State’s

website Corporation File Detail Report which is reflected by the January 24, 2019,

screen capture:




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      52.    Avant Credit III does not result in any search results on the Illinois

Secretary of State’s website Corporation File Detail Report as reflected by the January

24, 2019, screen capture:




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       53.     By and through the Collection Letters, Defendants contend that Avant

Credit III Trust and/or Avant, Inc. provided a loan to Plaintiff.

       54.     By and through the Collection Letter, Defendants contend that “MIDLAND

FUNDING LLC” is the “Current Owner” of the subject debt.

       55.     On information and belief, Avant Credit III Trust is headquartered and/or

operated out of 222 N. LaSalle, Suite 1700, Chicago, IL, 60601.

       56.     On information and belief, Avant Inc. is headquartered and/or operated

out of 222 N. LaSalle, Suite 1700, Chicago, IL, 60601.

       57.     Avant Credit III Trust provides and/or has provided loans to consumers

located within and outside of the State of Illinois.

       58.     Avant, Inc. provides and/or has provided loans to consumers located

within and outside of the State of Illinois.

       59.     On information and belief, based upon representations made by Avant

Credit III Trust and/or Avant, Inc., the subject consumer law is “shall be governed by

the laws of the State of Illinois . . . .”

       60.     On information and belief, according to representations made by Avant

Credit III Trust and/or Avant, Inc. the applicable venue for jurisdictional purposes for

any dispute related to the subject consumer loan is “state and federal courts in Cook,

County, Illinois.”

       61.     To the extent that Defendants “step in to shoes of” Avant Credit III Trust

and/or Avant, Inc., jurisdiction and venue in this district is proper.

       62.     Venue is proper in this district pursuant to 28 U.S.C. §1391 because Avant

Credit III Trust and/or Avant, Inc. conducted and conducts business in the Northern

District of Illinois.




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          63.      Further, Venue is proper in this district because Defendants send

thousands of debt collection letters to residents of this district on a yearly basis.

   III.         Causes of Action

                A. The Collection Letters Fail to Identify the Applicable Statute of
                   Limitations and is Otherwise False and Misleading

          64.      Defendant MCM, on behalf of Defendant Midland, sent a letter to Plaintiff

December 24, 2018, (hereafter the “December 24, 2018, Collection Letter”). A copy of

the December 24, 2018, Collection Letter is attached as Exhibit A.

          65.      The December 24, 2018, Collection Letter represents that the subject debt

is out of statute by stating the following: “The law limits how long you can be sued on

a debt. Because of the age of your debt, we will not sue you for it.”

          66.      Defendant MCM, on behalf of Defendant Midland, sent a letter to Plaintiff

January 8, 2019, (hereafter the “January 8, 2019, Collection Letter”). A copy of the

January 8, 2019, Collection Letter is attached as Exhibit B.

          67.      The January 8, 2019, Collection Letter represents that the subject debt is

out of statute by stating the following: “The law limits how long you can be sued on a

debt. Because of the age of your debt, we will not sue you for it.”

          68.      Despite having information regarding the subject debt such as the date of

default and the last payment made to the original creditor, the December 24, 2018, and

January 8, 2019, Collection Letters do not identify the method or manner by which

Defendants determined that is was appropriate to make the following representation:

“Because of the age of your debt, we will not sue you for it.”

          69.      Section 1692e of the FDCPA states that “[a] debt collector may not use any

false, deceptive, or misleading representation or means in connection with the collection

of any debt.”       Section 1692e(2)(A) prohibits “false representations[s]” regarding “the



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character . . . or legal status of any debt.” Section 1692e(10) prohibits “[t]he use of any

false representation or deceptive means to collect or attempt to collect any debt.”

       70.      Section 1692f of the FDCPA states “[a] debt collector may not use unfair

or unconscionable means to collect or attempt to collect any debt.”

       71.      As set forth herein, Defendants violated Sections 1692e, 1692e(2)(A),

1692e(10) and Section 1692f of the FDCPA.

             B. The Default Date Identified in the Collection Letters is False and
                Misleading

       72.      The January 8, 2019, Collection Letter states that the date of the default

of the subject debt was April 1, 2015.

       73.      The December 24, 2018, Collection Letter states that the date of the default

of the subject debt was April 1, 2015.

       74.      If the “Date of Default” for the subject debt was April 1, 2015, it is possible

that the subject debt is not time-barred under the law, despite what is stated by

Defendants in the December 24, 2018, Collection Letter, and the January 8, 2019,

Collection Letter.

       75.      Section 1692e of the FDCPA states that “[a] debt collector may not use any

false, deceptive, or misleading representation or means in connection with the collection

of any debt.”    Section 1692e(2)(A) prohibits “false representations[s]” regarding “the

character . . . or legal status of any debt.” Section 1692e(10) prohibits “[t]he use of any

false representation or deceptive means to collect or attempt to collect any debt.”

       76.      Section 1692f of the FDCPA states “[a] debt collector may not use unfair

or unconscionable means to collect or attempt to collect any debt.”

       77.      The representation in the December 24, 2018, Collection Letter, and the

January 8, 2019, Collection Letter, that the “Date of Default” for the subject debt was



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April 1, 2015 is false and misleading when read in conjunction with the above quoted

time-barred debt disclosures.

       78.      The purported default date, in conjunction with the use of the phrase “[t]he

law limits how long you can be sued on a debt. Because of the age of your debt”, violates

Sections 1692e, 1692e(2)(A), 1692e(10) and Section 1692f of the FDCPA.

             C. The Collection Letters Fail to Adequately Identify the Original
                Creditor

       79.      Section 1692e of the FDCPA states that “[a] debt collector may not use any

false, deceptive, or misleading representation or means in connection with the collection

of any debt.”    Section 1692e(2)(A) prohibits “false representations[s]” regarding “the

character . . . or legal status of any debt.” Section 1692e(10) prohibits “[t]he use of any

false representation or deceptive means to collect or attempt to collect any debt.”

       80.      Section 1692f of the FDCPA states “[a] debt collector may not use unfair

or unconscionable means to collect or attempt to collect any debt.”

       81.      Both Collection Letters list the “Original Creditor” as:

                AVANT CREDIT III TRUST
                AVANT, INC.

       82.      The Collection Letters fail to identify whether the original creditor to the

subject debt was Avant Credit III Trust or Avant, Inc.

       83.      To the extent that the Collection Letters do not adequately identify the

original creditor, it is plausible that Defendants’ initial written communication violated

Section 1692g the FDCPA.

       84.      Plaintiff, on information and belief, recalls receiving Defendants’ initial

written communication without one year of filing this Civil Action.

       85.      Plaintiff reasonably believes that Defendants’ records will identify the date

the letter was mailed and a copy of the letter can be produced through discovery.


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       86.      The manner in which the Collection Letters identify the “Original Creditor”

violates Sections 1692e, 1692e(2)(A), 1692e(10) and Section 1692f of the FDCPA.

             D. MCM Failed to Inform Plaintiff of the Time-Barred Nature of the
                Subject Debt During Telephone Discussions with Plaintiff

       87.      Section 1692e of the FDCPA states that “[a] debt collector may not use any

false, deceptive, or misleading representation or means in connection with the collection

of any debt.”    Section 1692e(2)(A) prohibits “false representations[s]” regarding “the

character . . . or legal status of any debt.” Section 1692e(10) prohibits “[t]he use of any

false representation or deceptive means to collect or attempt to collect any debt.”

       88.      Section 1692f of the FDCPA states that “[a] debt collector may not use

unfair or unconscionable means to collect or attempt to collect any debt.”

       89.      Despite the fact that both Collection Letters state that the “[t]he law limits

how long you can be sued on a debt. Because of the age of your debt”, to the best of

Plaintiff’s information, recollection, knowledge and belief, no account representative

made an oral disclosure to Plaintiff which informed him that “[t]he law limits how long

you can be sued on a debt.”

       90.      Despite the fact that both Collection Letters state that the “[b]ecause of the

age of your debt, we will not sue you for it”, to the best of Plaintiff’s information,

recollection, knowledge and belief, no account representative made an oral disclosure

to Plaintiff which informed him that “[b]cause of the age of your debt, we will not sue

you for it.”

       91.      Based upon the failure of account representatives to disclose either of the

quoted phrases to Plaintiff during any telephonic discussion of the subject debt, one or

both of the Defendants have violated Section 1692e) of the FDCPA.

       92.      The failure to make to orally inform Plaintiff that the subject debt is time-

barred violates Sections 1692e, 1692e(2)(A), 1692e(10) and Section 1692f of the FDCPA.

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        93.      Alternatively, informing Plaintiff that “we will not sue you” to collect the

subject debt violates Sections 1692e, 1692e(2)(A), 1692e(10) and Section 1692f of the

FDCPA.

              E. Collection Letters Failed to Properly and/or Adequately Explain the
                 Time-Barred Nature of the Subject Debt

        94.      Section 1692e of the FDCPA states that “[a] debt collector may not use any

false, deceptive, or misleading representation or means in connection with the collection

of any debt.”     Section 1692e(2)(A) prohibits “false representations[s]” regarding “the

character . . . or legal status of any debt.” Section 1692e(10) prohibits “[t]he use of any

false representation or deceptive means to collect or attempt to collect any debt.”

        95.      Section 1692f of the FDCPA states that “[a] debt collector may not use

unfair or unconscionable means to collect or attempt to collect any debt.”

        96.      The CFPB has stated that when a consumer debt is time-barred, a debt

collector should "inform[] the consumer that, because of the age of the debt, the debt

collector cannot sue to recover it."       See, SMALL BUSINESS REVIEW PANEL FOR DEBT

COLLECTOR AND DEBT BUYER RULEMAKING, OUTLINE OF PROPOSALS UNDER CONSIDERATION

AND   ALTERNATIVES CONSIDERED, July 28, 2016, at 19 (emphasis supplied).2

        97.      The CFPB recognizes that “some [debt collectors] currently disclose to

consumers that they cannot sue to collect the debt.” Id. at p. 63 (emphasis supplied).

        98.      The Collection Letters do not utilize the words “cannot sue”.

        99.      The Federal Trade Commission (“FTC”) has also recognized that

consumers can be confused by their legal rights regarding time barred debt:

                 because most consumers do not know or understand their legal
                 rights with respect to the collection of time-barred debt, the

2
 A copy of this document is hosted by the CFPB at:
https://files.consumerfinance.gov/f/documents/Outline_of_proposals_under_consideration_an
d_alternatives_considered_embargoed.pdf


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              Commission believes that in many circumstances such a collection
              attempt may create a misleading impression that the collector can
              sue the consumer in court to collect the debt, in violation of . . . the
              FDCPA.3

       100.   Similarly, the FTC and the CFPB have jointly recognized it is plausible that

dunning letters seeking collection on time-barred debts may mislead and deceive

unsophisticated consumers:

              Absent disclosures to consumers as to the age of their debt, the
              legal enforceability of it, and the consequences of making a payment
              on it, it is plausible that dunning letters seeking collection on time-
              barred debts may mislead and deceive unsophisticated consumers.4

       101.   Because "most consumers" do not understand their legal rights when it

comes to the collection of time barred debt, the above findings of the CFPB and FTC

support that it is plausible that the Collection Letter could "create a misleading

impression" with consumers relative to the question of whether Defendants could sue

to collect the debt.

       102.   The Honorable John J. Tharp, Jr. denied a motion to dismiss where the

collection letter included language similar to the Collection Letters: “[t]he law limits how

long you can be sued on a debt. Because of the age of your debt, we will not sue you

for it, and we will not report it to any credit reporting agency.” Richardson v. LVNV

Funding, LLC, 2017 U.S. Dist. LEXIS 179746, *3, *7-*8 (N.D. Ill. Oct. 31, 2017).

       103.   According to Judge Tharp:

              The letter sent to Richardson includes an additional, preceding
              sentence that discusses time-barred debts: "The law limits how long


3
   See, REPAIRING A BROKEN SYSTEM: PROTECTING CONSUMERS IN DEBT COLLECTION LITIGATION AND
ARBITRATION, Federal Trade Commission, July 2010 at 26 (2010 FTC Report), available at
https://www.ftc.gov/reports/repairing-broken-system-protectingconsumers-debt-collection-
litigation
4
 See, Brief of Amici Curiae Federal Trade Commission and Consumer Financial Protection
Bureau at 7, Delgado v. Capital Management Services, LP, 2013 WL 1194708 (No. 13-2030)
https://www.ftc.gov/sites/default/files/documents/amicus_briefs/juanita-delgado-v.capital-
management-services-lp/130814delgadoamicusbrief.pdf

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                you can be sued on a debt." Thus, the question here is whether the
                preceding sentence (or anything else in the letter) dispels the
                misleading impression created by the following, "we will not sue
                you" sentence. The Court cannot conclude as a matter of law that
                it does. Although the preceding sentence indicates to the reader that
                there is a statute of limitations defense, an unsophisticated
                consumer may still be confused about whether the defense actually
                barred the defendants from suing on the debt. Stated differently, in
                reading both sentences together, a consumer could still "wonder
                whether [the collector] has chosen to go easy on this old debt out of
                the goodness of its heart, or perhaps because it might be difficult to
                prove the debt," Pantoja, 852 F.3d at 686, or because the
                limitations period had in fact expired.

Id. at *7-*8.

       104.     The Honorable Harry D. Leinenweber granted summary judgment against

Midland and held that a collection letter was “materially misleading” where the collection

letter used the following phrase – “The law limits how long you can be sued on a debt.

Because of the age of your debt, we will not sue you for it[.]” Pierre v. Midland Credit

Management, Inc., 2018 U.S. Dist. LEXIS 18860, *3, *11-*17 (N.D. Ill. Feb. 5, 2018).

       105.     Because the Collection Letters did not identify a particular statute of

limitations and because the Collection Letters did not definitively stated “we cannot sue

you”, it was plausible (and reasonable) for Plaintiff to believe that Defendants retained

the right to sue him to collect the subject debt.

       106.     The language used in the Collection Letters enticed Plaintiff to attempt to

pay down the subject debt, which resulted in Defendant sustaining actual damages – in

the form of payments he would not have otherwise made but for the above quoted

language which failed to inform Plaintiff that Defendant could not sue him due to the

age of the subject debt.

       107.     The use of the phrase “we will not sue you” to collect the subject debt

violates Sections 1692e, 1692e(2)(A), 1692e(10) and Section 1692f of the FDCPA




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because the phrase failed to properly and/or adequately explain the time-barred nature

of the subject debt.

           F. Defendants’ “Discount Program” Violates the FDCPA

       108.     Section 1692e of the FDCPA states that “[a] debt collector may not use any

false, deceptive, or misleading representation or means in connection with the collection

of any debt.”    Section 1692e(2)(A) prohibits “false representations[s]” regarding “the

character . . . or legal status of any debt.” Section 1692e(10) prohibits “[t]he use of any

false representation or deceptive means to collect or attempt to collect any debt.”

       109.     Section 1692f of the FDCPA states that “[a] debt collector may not use

unfair or unconscionable means to collect or attempt to collect any debt.”

       110.     Upon information and belief, Plaintiff received one or more collection

letters from Defendants which identified a so-called “discount program” to help Plaintiff

pay off the subject debt.

       111.     The “discount program” was intended by Defendants to entice consumers

to pay down or pay off otherwise time-barred debt.

       112.     After receiving one of Defendants’ “discount program” letters, Plaintiff

contacted Midland and agreed to pay off the purported balance in $10.00 increments.

       113.     Payments last payment of $10.00 appears to have taken place on

November 2, 2018.

       114.     Upon information and belief, a payment of $10.00 was scheduled to take

place on January 2, 2018. See Exhibit A.

       115.     Plaintiff, however, was unable to supply sufficient funds to make this

payment.




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         116.   The January 8, 2019, Collection Letter stated, “your recently scheduled

payment of $10.00 to Midland Credit Management, Inc. was declined/returned.” See

Exhibit B.

         117.   Just like the December 24, 2018, Collection Letter, the January 2, 2018,

letter includes the phrase:

                The law limits how long you can be sued on a debt. Because of the
                age of your debt, we will not sue you for it. If you do not pay the
                debt, we may report it to the credit reporting agencies as unpaid.

See Exhibit B.

         118.   The January 2, 2018, collection letter states that the date of the default of

the subject debt was April 1, 2015. See Exhibit B

         119.   Defendants’ use of the subject collection letter to collect time-barred debt

violated Sections 1692e(2) and 1692e(5) because the offer of a "discount program,"

read together with the conclusion providing that Defendants "will" not sue, instead of

"cannot" sue, could lead the least sophisticated consumer to believe that Defendants

had simply chosen not to sue—not that they were barred from doing so.

         120.   Accordingly, the collection letter can therefore plausibly be read as making

"false representation[s] about the character, amount, or legal status of [a] debt" in

violation of 15 U.S.C. § 1692e(2)(A) or as making an implicit "threat to take [an] action

that cannot legally be taken," in violation of 15 U.S.C. § 1692e(5).

   IV.      Summary of the CFBPB Consent Order

         121.   On September 3, 2015, Defendants entered into a consent order with the

CFPB that enjoined Defendants from among other things: (1) attempting to collect time-

barred debt; (2) procuring and submitting misleading affidavits in debt collection

litigation; and (3) attempting to collect debt based on potentially inaccurate data.




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       122.   The   Consent     Order    is    hosted   on   the   CFPB’s     website   at

https://files.consumerfinance.gov/f/201509_cfpb_consent-order-encore-capital-

group.pdf

       123.   Where the Consent Order refers to “Encore”, it was collectively referring to

the Defendants Midland and MCM along with Asset Acceptance Capital Corp.

       124.   Paragraph 22 of the Consent Order states that “[f]om 2009 to 2015, Encore

paid about $4 billion for approximately 60 million Consumer accounts with a total face

value of $128 billion.”

       125.   Paragraph 27 of the Consent Order states that “Debt sellers . . . typically

did not inform Encore which individual accounts in a given portfolio contain an

approximate balance, are past the applicable statute of limitations for litigation, past

the date of obsolescence for credit reporting, or were previously disputed by a

Consumer.”

       126.   Paragraph 30 of the Consent Order states that “Debt sellers have provided

data files to Encore containing inaccurate information as to . . . the age of the Debt, the

amount of the Debt, the interest rate, and other material information about the Debt.”

       127.   Paragraph 32 of the Consent Order states that “Sellers typically have not

provided Encore with any Consumer-level documentation about most individual Debts,

such as account statements, records of payments, and the underlying contracts signed

by the Consumers.” Paragraph 32 of the Consent Order states that “Encore has had to

order these documents from sellers, often at an additional cost to Encore.”

       128.   Paragraph 68 of the Consent Order describes how Defendants used

collection calls to improperly influence consumers to pay time-barred debt:

              Encore has trained its collectors to "create urgency" when collecting
              Time-Barred Debt through telephone calls. For example, for one
              portfolio Encore knew contained a high percentage of Time-Barred
              Debt, collectors were instructed to "[e]ducate [the] consumer, as to

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                how nonpayment of bill will impact him," by telling him "[i]t is
                important for me to establish your intentions towards the bill or else
                it will be taken as your refusal to resolve" after which the account
                ·will be "forwarded for further management review" so that "further
                collection activities will be decided."

       129.     Paragraph 90 of the Consent Order describes how Encore’s collection

agents improperly attempted to influence consumers to pay time-barred debt:

                In numerous instances, in connection with collecting or attempting
                to collect Debt that is beyond the applicable statute of limitations
                from Consumers, Encore represented, directly or indirectly,
                expressly or by implication, that Consumers had a legally
                enforceable obligation to pay the Debt.

       130.     Paragraph 91 of the Consent Order states that “Consumers do not have a

legally enforceable obligation to pay Debt that is beyond the applicable statute of

limitations.”

       131.     Paragraph 92 of the Consent Order states that Encore’s “representations

are material because they are likely to affect a Consumer's choice or conduct regarding

how to respond to an allegedly outstanding Debt claim and are likely to mislead

Consumers acting reasonably under the circumstances.”

       132.     Paragraph    93   of   the   Consent   Order   determined    that   Encore’s

“representations set forth in Paragraph 90 are false or misleading and constitute a

deceptive act or practice in violation of Sections 1031(a) and 1036(a) of the CFPA, 12

U.S.C. §§ 5531(a) and 5536(a).”

       133.     Paragraph 112 of the Consent Order states that “[i]n numerous instances,

in connection with collecting or attempting to collect Debt that is beyond the applicable

statute of limitations from Consumers, Encore represented, directly or indirectly,

expressly or by implication, that Consumers had a legally enforceable obligation to pay

the Debt.”




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        134.    Paragraph 113 of the Consent Order states that “Consumers do not have

a legally enforceable obligation to pay Debt that is beyond the applicable statute of

limitations.”

        135.    Paragraph 114 of the Consent Order determines that “the representations

set forth in Paragraph 112 are false or misleading and constitute a deceptive act or

practice in violation of Sections 807, 807(2)(A), 807(5), and 807(10) of the FDCPA, 15

U.S.C. §§ 1692e, 1692e(2)(A), 1692e(5), 1692e(10).”

        136.    As noted above, to the best of Plaintiff’s recollection, he was not told that

the subject debt was time-barred when he spoke with Defendant’s account

representatives during phone conversations leading up to him agreeing to pay down the

subject debt.

   V.      Additional Allegations

        137.    The Collection Letters do not state that payment towards the debt could,

as a matter of law, restart the statute of limitations on the Subject Debt.

        138.    The Collection Letters do not state that Defendants will not restart the

statute of limitations on the Subject Debt based upon a partial payment.

        139.    Because of these omissions, Plaintiff was confused and had his rights

violated by the fact Defendants never mailed a letter to Plaintiff which informed him that

a payment towards the subject debt would operate restart the statute of limitations for

time-barred debt.

        140.    Defendants intentionally worded, drafted and formatted Collection Letters

for the sole purpose of inducing consumers like Plaintiff to pay part or all of a time-

barred debt.




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         141.   Defendants’ use of the phrase “will not sue you” was misleading and

deceptive because as a matter of law - Defendants cannot sue Plaintiff for time-barred

debt.

         142.   Defendants have declined to use the phrase “cannot sue you” and instead

use the phrase “will not sue you.”

         143.   The Collection Letters were drafted to mislead, deceive and confuse debtors

such as Plaintiffs.

         144.   As noted above, on information and belief, Plaintiff’s underling credit

agreement with Avant Credit III Trust and/or Avant, Inc. is governed by Illinois law.

         145.   Under Illinois law, repayment of a debt which has expired due to the

statute of limitations will be revived through payment by the debtor.

         146.   Under Illinois law, “[a]n unqualified admission that a debt is due and

unpaid, accompanied by nothing said or done to rebut the presumption of a promise to

pay it, it is sufficient to revive the debt against the Statute of Limitations.” Phillip Ross

v. St. Clair Foundry Corporation, 271 Ill.App. 271, 273 (4th Dist. 1933).

         147.   Under Illinois law, “[i]f the debtor clearly admits the debt to be due and

unpaid, and uses language indicating an intention to pay it, a new promise to pay is

implied.” Phillip Ross v. St. Clair Foundry Corporation, 271 Ill.App. 271, 273 (4th Dist.

1933).

         148.   Under Illinois law, “[a] new promise to pay a past-due debt which removes

a case from the running of the statute of limitations is unlike a normal bargain in that

it creates a new debt[.]” Axia Incorporated v. I.C. Harbour Construction Co. 150 Ill.App.3d

645, 645, 651-52 (2nd Dist. 1986).




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       149.   One or both of the Defendants determined that collections would be more

successful if collection letters used the words “we will not sue you” as opposed to the

words “we cannot sue you.”

       150.   Defendants decided to use the words “we will not sue you” because they

have determined that the words “we will not sue you” would result a higher success rate

of payments than using the words “we cannot sue you.”

       151.   Defendants continue to use the words “we will not sue you” because they

have determined that the words “we will not sue you” will result in a higher success rate

of payments as opposed to using the words “we cannot sue you.”

       152.   Defendant MCM utilized third-parties to conduct research into what words

and what combination of words in a collection letter are more likely to induce debtors

to pay the debt referenced in the collection letter.

       153.   Defendant Midland utilized third-parties to conduct research into what

words and what combination of words in a collection letter are more likely to induce

debtors to pay the debt referenced in the collection letter.

       154.   On information and belief, one or more of the Defendants has conducted

specific research relative to the collection efficiency related to the use of the words “we

will not sue you” as opposed to the words “we cannot sue you.”

       155.   Defendants can and do track whether consumers have submitted

payments within a prescribed period after receipt of a collection letter.

       156.   For example, with regard to the transmission of a letter using the words

“we will not sue you”, Defendants can run computer searches to determine whether

payment was or was not made without a particular time-frame.




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         157.   Specifically, Defendants can run computer searches to determine if

consumers submitted a payment within a specific time period after being sent a

collection letter using the words “we will not sue you.”

         158.   If no payment is received within a specific time-period after the

transmission of collection letter using the words “we will not sue you”, Defendants have

protocols in place to transmit a follow up letter within a prescribed period.

         159.   Defendants have been sued in various jurisdictions for utilizing the words

“we will not sue you” as opposed to the words “we cannot sue you.”

         160.   Despite these many suits, Defendants continue to use the words “we will

not sue you” because they have determined that these words will result in higher

incidents of payments as opposed to using the words “we cannot sue you.”

         161.   Accordingly, for these reasons, Defendants’ use of the words “we will not

sue you” as opposed to using the words “we cannot sue you” was intentionally deceptive

and designed to induce consumers to pay debts that are time-barred.

         162.   Plaintiff suffered actual damages to the extent he made partial payments

towards an otherwise time-barred debt.

         163.   Accordingly, Pursuant to 15 U.S.C. § 1692k, Plaintiff and the Class are

entitled to actual damages, attorneys’ fees and costs.

         164.   Alternatively, pursuant to 15 U.S.C. § 1692k, Plaintiff and the Class are

entitled to statutory damages, attorneys’ fees and costs.

   VI.      Causes Of Action

          COUNT I – Failure to Identify the Applicable Statute of Limitations

         165.   Plaintiff repeats and realleges the above allegations as though fully set

forth herein.




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       166.     The failure of the December 24, 2018, and January 8, 2019, Collection

Letters to identify the statute of limitation that Defendants are applying to the subject

debt(s), the date of the expiration and the method and manner in which Defendants

calculated the date(s), constitute violations of Sections 1692e, 1692e(2)(A) 1692e(10)

and 1692f of the FDCPA.

       167.     Pursuant to 15 U.S.C. § 1692k, Plaintiff and each class member is entitled

to actual damages, statutory damages, attorneys’ fees and costs.

   WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter

judgment in their favor and against Defendants as follows:

          a. Declaring that the practices complained of herein are unlawful and violate
             the aforementioned statutes and regulations;

          b. Certifying this Count as a class action;

          c. Awarding Plaintiffs statutory and actual damages in an amount to be
             determined at trial, for the underlying FDCPA violations;

          d. Awarding Plaintiffs costs and reasonable attorney’s fees as provided under
             15 U.S.C. §1692k; and

          e. Awarding any other relief as this Honorable Court deems just and
             appropriate.


              COUNT II – The Identified Default Date Violates the FDCPA

       168.     Plaintiff repeats and realleges the above allegations as though fully set

forth herein.

       169.     The purported default date, in conjunction with the use of the phrase “[t]he

law limits how long you can be sued on a debt. Because of the age of your debt”, violates

Sections 1692e, 1692e(2)(A), 1692e(10) and Section 1692f of the FDCPA.

       170.     The default identified in the Collection Letters appears to conflict with the

above language, especially to the extent that neither of the Collection Letters identify

the specific statute of limitation that applies to the subject debt.

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      171.      Pursuant to 15 U.S.C. § 1692k, Plaintiff and each class member is entitled

to actual damages, statutory damages, attorneys’ fees and costs.

   WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter

judgment in their favor and against Defendants as follows:

          a. Declaring that the practices complained of herein are unlawful and violate
             the aforementioned statutes and regulations;

          b. Certifying this Count as a class action;

          c. Awarding Plaintiffs statutory and actual damages in an amount to be
             determined at trial, for the underlying FDCPA violations;

          d. Awarding Plaintiffs costs and reasonable attorney’s fees as provided under
             15 U.S.C. §1692k; and

          e. Awarding any other relief as this Honorable Court deems just and
             appropriate.


     COUNT III – The Letters Fail to Adequately Identify the Original Creditor

      172.      Plaintiff repeats and realleges the above allegations as though fully set

forth herein.

      173.      The manner in which the Collection Letters identify the “Original Creditor”

violates Sections 1692e, 1692e(2)(A), 1692e(10) and Section 1692f of the FDCPA.

      174.      Pursuant to 15 U.S.C. § 1692k, Plaintiff and each class member is entitled

to actual damages, statutory damages, attorneys’ fees and costs.

   WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter

judgment in their favor and against Defendants as follows:

          a. Declaring that the practices complained of herein are unlawful and violate
             the aforementioned statutes and regulations;

          b. Certifying this Count as a class action;

          c. Awarding Plaintiffs statutory and actual damages in an amount to be
             determined at trial, for the underlying FDCPA violations;



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          d. Awarding Plaintiffs costs and reasonable attorney’s fees as provided under
             15 U.S.C. §1692k; and

          e. Awarding any other relief as this Honorable Court deems just and
             appropriate.

             COUNT IV – Failure to Convey Time-Barred Oral Disclosures

      175.      Plaintiff repeats and realleges the above allegations as though fully set

forth herein.

      176.      The failure to orally disclose to Plaintiff that the subject debt is time-barred

violates Sections 1692e, 1692e(2)(A), 1692e(10) and Section 1692f of the FDCPA.

      177.      On information and belief, on more than forty (40) other occasions, an

agent of Defendant failed to inform consumers their debt being collected by MCM was

time-barred.

      178.      Alternatively, if an agent of Defendant told Plaintiff was told during a

telephone call that MCM or Midland “will not sue you” to collect the subject debt,

Defendants violates Sections 1692e, 1692e(2)(A), 1692e(10) and Section 1692f of the

FDCPA.

      179.      On information and belief, more than forty (40) other consumers were

similarly misinformed.

      180.      Pursuant to 15 U.S.C. § 1692k, Plaintiff and each class member is entitled

to actual damages, statutory damages, attorneys’ fees and costs.

   WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter

judgment in their favor and against Defendants as follows:

          a. Declaring that the practices complained of herein are unlawful and violate
             the aforementioned statutes and regulations;

          b. Certifying this Count as a class action;

          c. Awarding Plaintiffs statutory and actual damages in an amount to be
             determined at trial, for the underlying FDCPA violations;


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          d. Awarding Plaintiffs costs and reasonable attorney’s fees as provided under
             15 U.S.C. §1692k; and

          e. Awarding any other relief as this Honorable Court deems just and
             appropriate.

  COUNT V – The Letters Fail to Properly and/or Adequately Explain the Time-
                      Barred Nature of the Subject Debt

       181.     Plaintiff repeats and realleges the above allegations as though fully set

forth herein.

       182.     The use of the phrase “we will not sue you” to collect the subject debt

violates Sections 1692e, 1692e(2)(A), 1692e(10) and Section 1692f of the FDCPA

because this phrase failed to properly and/or adequately explain the time-barred nature

of the subject debt(s).

       183.     Pursuant to 15 U.S.C. § 1692k, Plaintiff and each class member is entitled

to actual damages, statutory damages, attorneys’ fees and costs.

   WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter

judgment in their favor and against Defendants as follows:

          a. Declaring that the practices complained of herein are unlawful and violate
             the aforementioned statutes and regulations;

          b. Certifying this Count as a class action;

          c. Awarding Plaintiffs statutory and actual damages in an amount to be
             determined at trial, for the underlying FDCPA violations;

          d. Awarding Plaintiffs costs and reasonable attorney’s fees as provided under
             15 U.S.C. §1692k; and

          e. Awarding any other relief as this Honorable Court deems just and
             appropriate.

   VII.   Additional Class Based Allegations

       184.     During the relevant time-period, MCM received payments from consumers

who were sent a collection letter identical or similar to the ones identified in this Civil



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Action, where the consumers’ debts had previously been determined to be time-barred

by one or more of the Defendants.

      185.   During the relevant time-period, MCM received payments from over forty

consumers who were sent a collection letter identical or similar to the ones identified in

this Civil Action, where the consumers’ debts had previously been determined to be

time-barred one or more of the Defendants.

      186.   On information and belief, during the relevant time-period, Defendants

collected over $500,000 in funds related to debt that Defendants have previously

determined to be time-barred debt.

      187.   On information and belief, during the relevant time-period, Defendants

collected over $1,000,000 in funds related to debt that Defendants have previously

determined to be time-barred debt.

      188.   On information and belief, during the relevant time-period, Defendants

collected over $1,500,000 in funds related to debt that Defendants have previously

determined to be time-barred debt.

      189.   On information and belief, during the relevant time-period, Defendants

collected over $2,000,000 in funds related to debt that Defendants have previously

determined to be time-barred debt.

      190.   During the relevant time-period, after Defendants collected partial

payments from consumers relative to previously time-barred debts, where at least forty

consumers have defaulted on paying off the remainder of their debts.

      191.   The proposed classes and sub-classes are so numerous that joinder of all

individual members in one action would be impracticable, given the expected Class size

and modest value of individual claims.




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      192.   With regard to each class and sub-class, over 40 persons received letters

containing the above quoted language letter during this proposed time-period.

      193.   With regard to each class and sub-class, over 100 persons received letters

containing the above quoted language letter during this proposed time-period.

      194.   With regard to each class and sub-class, over 200 persons received letters

containing the above quoted language letter during this proposed time-period.

      195.   With regard to each class and sub-class, over 500 persons received letters

containing the above quoted language letter during this proposed time-period.

      196.   With regard to each class and sub-class, over 1,000 persons received

letters containing the above quoted language letter during this proposed time-period.

      197.   Putative class members have suffered damages in the form of paying

Defendants for a time-barred debt where Defendants did not properly disclose to class

members and they could not sue the consumers for the subject debts.

      198.   There are common questions of law and fact affecting members of the

Class, which common questions predominate over questions that may affect individual

members. These common questions include, but are not limited to whether Defendants

mailed form letters in the manner alleged above to other individuals and as set forth in

each proposed class definition.

      199.   Plaintiff will fairly and adequately represent the putative Class Members.

      200.   Plaintiff has no interests that conflict with the interests of Class Members.

      201.   Plaintiff has retained attorney James C. Vlahakis to prosecute this civil

action as a class action.

      202.   Mr. Vlahakis experienced in prosecuting and defending consumer class

actions involving the FDCPA.




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      203.    Neither Plaintiffs nor their counsel has any interests that might cause

them not to pursue these claims vigorously.

      204.    Maintenance of this civil action as a class action because the prosecution

of separate actions by individual Class members would create a risk of inconsistent or

varying adjudications with respect to individual members that would establish

incompatible standards of conduct for the parties opposing the Class.

   VIII.   Proposed Class Definitions

      205.    Plaintiff intends to certify one or more of the proposed classes for each

proposed Count, for a time-period from December 24, 2017, through the later of the

following dates – the dates this class is certified, the day notice is transmitted, or the

last date that Defendants stop the offending conduct.

      206.    Defendants’ account and collection records can will serve to identify the

conduct complained of and the class members subject to the complained of conduct:

      A. Count I - Proposed Class For Failing to Properly Identify the Applicable
         Statute of Limitations Period Used Prior to Transmitting the Subject
         Letters

      207.    A proposed Texas based class of residents can be defined as follows:

              All persons with Texas addresses to whom Midland Credit
              Management, Inc. sent a consumer debt collection letter containing
              the following statement:

                     The law limits how long you can be sued on a debt.
                     Because of the age of your debt, we will not sue you for
                     it.

              And the subject collection letters failed to identify expiration date or
              or the method and manner by which Defendants determined that
              the subject debt was time-barred.

      208.    A proposed Illinois based class of residents can be defined as follows:

              All persons with Illinois addresses to whom Midland Credit
              Management, Inc. sent a consumer debt collection letter containing
              the following statement:


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                     The law limits how long you can be sued on a debt.
                     Because of the age of your debt, we will not sue you for
                     it.

              And the subject collection letters failed to identify expiration date or
              or the method and manner by which Defendants determined that
              the subject debt was time-barred.

       209.   Alternatively, the proposed classes can be limited to debts where the

original creditor(s) are listed as Avant Credit III Trust and/or Avant, Inc.

       B. Count II - Proposed Class For Collection Letters Identifying a False
          and/or Deceptive “Default Date”

       210.   A proposed Texas based class of residents can be defined as follows:

              All persons with Texas addresses to whom Midland Credit
              Management, Inc. sent a consumer debt collection letter containing
              the following statement:

                     The law limits how long you can be sued on a debt.
                     Because of the age of your debt, we will not sue you for
                     it.

              And where the “default date” identified in each collection letter is
              false and/or misleading.

       211.   A proposed Illinois based class of residents can be defined as follows:

              All persons with Illinois addresses to whom Midland Credit
              Management, Inc. sent a consumer debt collection letter containing
              the following statement:

                     The law limits how long you can be sued on a debt.
                     Because of the age of your debt, we will not sue you for
                     it.

              And where the “default date” identified in each collection letter is
              false and/or misleading.

       212.   Alternatively, the proposed classes can be limited to debts where the

original creditor(s) are listed as Avant Credit III Trust and/or Avant, Inc.

       C. Count III - Proposed Class For Collection Letters That Fail to Adequately
          Identify the Creditor

       213.   A proposed Texas based class of residents can be defined as follows:


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         All persons with Texas addresses to whom Midland Credit
         Management, Inc. sent a consumer debt collection letter containing
         the following statement:

                The law limits how long you can be sued on a debt.
                Because of the age of your debt, we will not sue you for
                it.

         And where the collection letters jointly identify Avant Credit III Trust
         and Avant, Inc.

  214.   A proposed Illinois based class of residents can be defined as follows:

         All persons with Illinois addresses to whom Midland Credit
         Management, Inc. sent a consumer debt collection letter containing
         the following statement:

                The law limits how long you can be sued on a debt.
                Because of the age of your debt, we will not sue you for
                it.

         And where the collection letters jointly identify Avant Credit III Trust
         and Avant, Inc.

  D. Count IV – Proposed Class For Failing to Make Proper Oral Disclosures
     Regarding the Time-Barred Nature of the Subject Debts

  215.   A proposed Texas based class of residents can be defined as follows:

         All persons with Texas addresses to whom Midland Credit
         Management, Inc. sent a consumer debt collection letter containing
         the following statement:

                The law limits how long you can be sued on a debt.
                Because of the age of your debt, we will not sue you for
                it.

         And Defendants’ collection records fail to demonstrate that
         collection agents utilized oral disclosures to alert consumers to the
         time-barred nature of the subject debts.

  216.   A proposed Illinois based class of residents can be defined as follows:

         All persons with Illinois addresses to whom Midland Credit
         Management, Inc. sent a consumer debt collection letter containing
         the following statement:

                The law limits how long you can be sued on a debt.
                Because of the age of your debt, we will not sue you for
                it.

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              And Defendants’ collection records fail to demonstrate that
              collection agents utilized oral disclosures to alert consumers to the
              time-barred nature of the subject debts.

       217.   Alternatively, the proposed classes can be limited to debts where the

original creditor(s) are listed as Avant Credit III Trust and/or Avant, Inc.

       E. Count V – Proposed Class For Failing to Properly Disclose the Time-
          Barred Nature of the Subject Debts

       218.   A proposed Texas based class of residents can be defined as follows:

              All persons with Texas addresses to whom Midland Credit
              Management, Inc. sent a consumer debt collection letter containing
              the following statement:

                     The law limits how long you can be sued on a debt.
                     Because of the age of your debt, we will not sue you for
                     it

       219.   A proposed Illinois based class of residents can be defined as follows:

              All persons with Illinois addresses to whom Midland Credit
              Management, Inc. sent a consumer debt collection letter containing
              the following statement:

                     The law limits how long you can be sued on a debt.
                     Because of the age of your debt, we will not sue you for
                     it.

       220.   Alternatively, the proposed classes can be limited to debts where the

original creditor(s) are listed as Avant Credit III Trust and/or Avant, Inc.

   WHEREFORE, Plaintiff ENRIQUE ESCOBAR respectfully requests that this

Honorable Court enter judgment in Plaintiff’s favor and in favor of a putative class, and

against Defendants, as follows:

          a. declaring that the practices complained of herein are unlawful and violate
             the aforementioned statutes and regulations;

          b. certifying the proposed classes;

          c. awarding Plaintiff actual damages, in an amount to be determined at trial,
             for the underlying violations;


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         d. awarding Plaintiff costs and reasonable attorney fees;

         e. awarding actual damages to class members who paid monies to
            Defendants after receiving a collection letter containing the subject
            language; and

         f. awarding any other relief as this Honorable Court deems just and
            appropriate.



Plaintiff demands a jury trial

   February 13, 2019


   Respectfully Submitted,


   By:     /s/ James C. Vlahakis

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